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 4   bwright@wloaz.com
     Attorney for the Debtors
 5
                                UNITED STATES BANKRUPTCY COURT
 6
                                          DISTRICT OF ARIZONA
 7

 8   In Re:                                                 In Proceedings Under Chapter 13

 9
     NICOLE ALLISON,                                        Case No. 2:18-bk-01211-SHG

10                                                          STIPULATED MOTION TO ALLOW
11                                  Debtor(s).              DEBTORS TO INCUR DEBT TO
12                                                          REFINANCE REAL PROPERTY

13
              Nicole Allison, Debtor(s), and Edward J. Maney, Chapter 13 Trustee, by and through
14
     undersigned counsel, hereby moves, pursuant to Local Rule 2084-25, this Court for an Order
15
     allowing Debtors to incur additional debt to purchase a residence. In support of said motion,
16   Debtor and Trustee stipulate as follows:
17            In support of her motion, Debtor states as follows:

18            1. Debtor is current with plan payments.
              2. Debtor is not in default under the terms of the Chapter 13 Plan.
19
              3. The proposed new debt will be a single loan to purchase a residence for Debtor.
20
              4. The only security for the proposed new debt is the residence being purchased.
21            5. All existing liens and security interests encumbering the residence will be paid from
22               the proceeds of the new debt.
23            6. Debtor is relocating because of her job.
              7. The proposed monthly housing expense, including escrow items, resulting from the
24
                 proposed new debt will be approximately $1,420.00.
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              8. Debtor is asking the court to approve the financing on terms contained in Exhibit “A”
26
                 attached hereto.

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            9. Debtor will modify her plan, within 15 days of the closing of the purchase of the
 1
                home, to provide for 100% of timely filed, allowable claims or to contribute all of her
 2
                disposable income, whichever is applicable.
 3          10. The granting of this motion will not hinder Debtor’s ability to continue to make Plan
 4              payments.
 5
     Wherefore, Debtors request this court to enter an Order:
 6
            1. Granting this motion to allow Debtors to incur debt to purchase a residence upon
 7
                substantially the same terms as are contained in Exhibit “A” attached hereto;
 8
            2. Directing all current liens against the residence be paid at closing;
 9          3. Allowing Debtors to pay all customary closing costs and fees; and
10          4. Granting such other and further relief as the Court deems justified.

11
     CONSENTED AND AGREED AS TO FORM AND CONTENT
12

13
     Edward J. Digitally  signed by
                 Edward J. Maney, Esq.

14   Maney, Esq. Date: 2020.04.30
                 12:36:22 -07'00'
     Edward J. Maney                                                      Date
15   Chapter 13 Trustee

16
     /s/Benjamin J. Wright                                                April 30, 2020
17
     Benjamin J. Wright                                           Date
18   Attorney for Debtor

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